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                             UNITED STATES BANKRUPTCY COURT

                                               FOR THE

                                EASTERN DISTRICT OF VIRGINIA


        In Re:
        Abiye Tekle                                     Case # 14-14244-BFK


                          REPORT OF DEPOSIT OF UNCLAIMED FUNDS


        Pursuant to Federal Rule of Bankruptcy Procedure 3011 and 11 U.S.C. 347, the trustee
        herein submits a check, or checks, payable to the “Clerk, United States Bankruptcy Court”
        representing unclaimed funds to be deposited by the Clerk of the Court into the Treasury
        of the United States. Said funds are subject to withdrawal as provided by 28 U.S.C. 2042
        and shall not escheat under any state law. Unclaimed funds represent the dividend(s) due
        and payable to the entity identified as the original payee on the face of the enclosed
        check(s).


        PAYEE                                           AMOUNT

        ABIYE TEKLE                                     $3,424.36
        5801 Quantrell Ave. Apt. 503
        Alexandria, VA 22312-2742




        Dated:        October 29, 2015              __/s/Thomas P. Gorman ___________
                                                    Thomas P. Gorman
                                                    300 North Washington Street, Ste. 400
                                                    Alexandria, VA 22314
                                                    (703) 836-2226
                                                    VSB#26421
